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 4   Telephone: (559) 497-4000
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 6
 7
 8               IN THE UNITED STATES DISTRICT COURT FOR THE
 9                       EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,        )       1:10-CR-00347-LJO
                                      )
12                  Plaintiff,        )       APPLICATION AND ORDER FOR
                                      )       MONEY JUDGMENT
13        v.                          )
                                      )
14   MICHELLE LEE PRINCE,             )
                                      )
15                  Defendant.        )
                                      )
16
          On October 15, 2010, defendant Michelle Lee Prince entered a
17
     guilty plea to Count Five of the indictment which charges her with
18
     Wire Fraud in violation of 18 U.S.C. § 1343 and 2(a); and Count
19
     Seventeen of the indictment which charges her with Possession of a
20
     Document-Making Implement, in violation of Title 18 U.S.C. §
21
     1028(a)(5) and 2(a).
22
          As part of her plea agreement with the United States, defendant
23
     Michelle Lee Prince agreed to forfeit voluntarily and immediately
24
     $86,282.49, as a personal money judgment pursuant to Fed. R. Crim.
25
     P. 32.2(b)(1), which reflects a reasonable compromise between the
26
     parties for forfeiture purposes concerning the proceeds the
27
     defendant obtained as a result of a violation of 18 U.S.C. §§ 1343
28

                                          1        Application and Order for Money Judgment
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 1   and 1028(a)(5), to which she has pled guilty.            See Defendant
 2   Prince’s Plea Agreement ¶ k.(1).
 3         Plaintiff hereby applies for entry of a money judgment as
 4   follows:
 5         1.    Pursuant to 18 U.S.C. § 982 and Fed. R. Crim. P.
 6   32.2(b)(1), the Court shall impose a personal forfeiture money
 7   judgment against defendant Michelle Lee Prince in the amount of
 8   $86,282.00.
 9         2.    The above-referenced personal forfeiture money judgment is
10   imposed based on defendant Michelle Lee Prince’s conviction for
11   violating 18 U.S.C. § 1343 and 2(a)(Count Five) and 18 U.S.C. §
12   1028(a)(5) and 2(a)(Count Seventeen).          Said amount reflects a
13   reasonable compromise between the parties for forfeiture purposes
14   concerning the proceeds the defendant obtained, which the defendant
15   agreed is subject to forfeiture based on the offense of conviction.
16   Any funds applied towards such judgment shall be forfeited to the
17   United States of America and disposed of as provided for by law.
18         3.    Payment of the personal forfeiture money judgment should be
19   made in the form of a cashier’s check made payable to the United
20   States Marshals Service and sent to the U.S. Attorney’s Office, Att:
21   Asset Forfeiture Unit, 2500 Tulare Street, Suite 4401, Fresno, CA
22   93721.     Prior to the imposition of sentence, any funds delivered to
23   the United States to satisfy the personal money judgment shall be
24   seized and held by the United States Marshals Service, in its secure
25   ///
26   ///
27   ///
28   ///

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 1   custody and control.
 2   DATED: 1/6/2011                         BENJAMIN B. WAGNER
                                             United States Attorney
 3
                                             /s/ Mark J. McKeon
 4                                           MARK J. McKEON
                                             Assistant U.S. Attorney
 5
 6                                   O R D E R
 7        For good cause shown, the Court hereby imposes a personal
 8   forfeiture money judgment against defendant Michelle Lee Prince in
 9   the amount of $86,282.49.    Any funds applied towards such judgment
10   shall be forfeited to the United States of America and disposed of
11   as provided for by law.    Prior to the imposition of sentence, any
12   funds delivered to the United States to satisfy the personal money
13   judgment shall be seized and held by the United States Marshals
14   Service, in its secure custody and control.
15        IT IS SO ORDERED.
16
17   DATED: January 7, 2011           /s/ Lawrence J. O’Neill________
                                      LAWRENCE J. O’NEILL
18                                    UNITED STATES DISTRICT JUDGE
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                                         3        Application and Order for Money Judgment
